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                               IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF OREGON



      FRANK E. GABLE,                                     Case No. 3:07-cv-00413-AC

                     Petitioner,                          REPLY TO PETITIONER'S RESPONSE TO
                                                          MOTION TO STAY AND RESPONSE TO
                                                          PETITIONER'S MOTION FOR RELEASE
             v.

      MAX WILLIAMS,

                     Respondent.




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     I.      Introduction

             Since respondent moved for a stay of this Court’s judgment granting a conditional writ of

     habeas corpus pending appeal (ECF # 171), petitioner has filed a response to that motion, as well

     as a motion for release pending appeal. (ECF #180-81). In those pleadings, petitioner indicates

     that he does not oppose a stay of this Court’s order requiring initiation of a new trial within 90

     days, but requests release pending appeal, explaining that he would be subject to a three-year

     term of federal supervision as a result of a prior federal conviction for Ex-Felon in Possession of

     a Firearm. As petitioner indicates, the parties have attempted to narrow the issues for resolution
     by this Court. To that end, respondent will not oppose petitioner’s release pending appeal, as

     contemplated under Fed. R. App. P. 23(c), provided that this Court stays its judgment pending

     appeal and imposes certain conditions on petitioner’s release, in addition to those imposed by

     virtue of petitioner’s prior federal conviction. As explained below, respondent objects to

     petitioner’s request, made in the conclusion of his motion for release, to have this Court vacate

     the underlying state-court judgment, as well as any request that this Court order the Oregon

     Department of Corrections (ODOC) to re-compute petitioner’s sentence to apply the time he has

     served in ODOC custody towards something other than his aggravated murder convictions.

     II.     The Court should deny petitioner’s request to vacate the judgment and should not
             order ODOC to compute petitioner’s sentence to apply the time he has served in
             ODOC custody towards something other than his aggravated murder convictions.
             In granting petitioner a conditional writ of habeas corpus, this Court ordered that

     petitioner “shall be released from custody unless the State of Oregon elects to retry him within

     90 days of the date of this order.” (ECF 168, p. 94). Under that order, the writ does not issue

     unless the State fails to meet the Court’s condition (i.e., elect to retry petitioner within 90 days).

     See Gentry v. Deuth, 456 F.3d 687, 692 (6th Cir. 2006) (“[T]he sole distinction between a

     conditional and an absolute grant of the writ of habeas corpus is that the former lies latent unless

     and until the state fails to perform the established condition, at which time the writ springs to


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     life.”). At several points in his briefing, petitioner indicates that he does not oppose a stay of this

     Court’s retrial order. (ECF # 180, p. 1 and 181, pp. 4, 6, 15). However, in the conclusion of his

     motion for release pending appeal, petitioner also requests that this Court vacate the underlying

     state-court judgment. (ECF #181, p. 20). Respondent opposes that request, as it is inconsistent

     with a stay.

             If this Court were to vacate the underlying state-court judgment on petitioner’s motion,

     respondent would cease to have authority to incarcerate petitioner and would be required to

     immediately release him. Thus, an order vacating the underlying state-court judgment would be
     akin to an absolute, unconditional issuance of the writ, a remedy that exceeds the conditional

     writ contained in the judgment this Court has previously entered. (ECF #169). But the Supreme

     Court has explained that “[t]he typical relief granted in federal habeas corpus is a conditional

     order of release unless the State elects to retry the successful habeas petitioner[.]” Herrera v.

     Collins, 506 U.S. 390, 403 (1993); see also Gardner v. Pitchess, 731 F.2d 637, 639 (9th Cir.

     1984) (“We are mindful of the considerations of comity underlying the habeas writ, which

     require that state courts be given an opportunity to correct alleged violations before federal

     courts step in.”). And petitioner has not explained why this Court should depart from its prior

     ruling allowing a conditional writ and instead grant the extraordinary remedy that he now

     requests.1 If such a remedy were granted, far from being granted a stay, the State would be

     required to expeditiously determine whether to retry petitioner on the existing indictment during

     the pendency of the appeal, among other reasons, to comport with petitioner’s potential speedy-

     trial rights.




     1
       “Unconditional writs of habeas corpus are generally limited to three types of circumstances:
     (1) unlawful prosecutions; (2) failures to comply with a conditional writ; and (3) extraordinary
     circumstances, typically involving egregious conduct by the government.” Brian R. Means,
     Federal Habeas Manuel: A Guide to Federal Habeas Corpus Litigation § 13:8 at 1626 (2017).
     Petitioner has not argued that any of those circumstances apply here.
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             Given that a Notice of Appeal has been filed in this matter, the Court is divested of

     jurisdiction over aspects of the case involved in the appeal. See Stein v. Wood, 127 F.3d 1187,

     1189 (9th Cir. 1997) (providing that, “[a]s a general rule, the filing of a notice of appeal divests a

     district court of jurisdiction over those aspects of the case involved in the appeal[,]” but

     explaining that district court retains jurisdiction under Fed. R. App. P. 23 to “issue orders

     regarding the custody or enlargement of a petitioner even after an appeal has been taken . . . ”).

     The nature of relief granted in this case is an aspect involved in the appeal, the transformation of

     which—from conditional to unconditional—would unexpectedly deprive the State of any
     opportunity to comply with the Court’s condition to avoid the writ’s issuance. See also

     Workman v. Tate, 958 F.2d 164, 166 (6th Cir. 1992) (holding that “the district court was without

     jurisdiction to amend its original order granting [petitioner]’s habeas petition since an appeal

     from that order already had been taken to this Court.”).

             Further, there is substantial authority indicating that, although a federal habeas court has

     authority to order a successful habeas petitioner’s release from custody—as the Court has done

     here—it is beyond the scope of federal habeas to revise or vacate a state-court judgment. See

     e.g., Coleman v. Thompson, 501 U.S. 722, 730 (1991) (“When a federal district court reviews a

     state prisoner's habeas corpus petition pursuant to 28 U.S.C. § 2254, it must decide whether the

     petitioner is ‘in custody in violation of the Constitution or laws or treaties of the United States.’

     Ibid. The court does not review a judgment, but the lawfulness of the petitioner's

     custody simpliciter.”); Wilkinson v. Dotson, 544 U.S. 74, 87 (2005) (Scalia, J., concurring)

     (“Conditional writs enable habeas courts to give States time to replace an invalid judgment with

     a valid one, and the consequence when they fail to do so is always release.”); Fay v. Noia, 372

     U.S. 391, 430-31 (1963) (“Habeas lies to enforce the right of personal liberty; when that right is

     denied and a person confined, the federal court has the power to release him. Indeed, it has no

     other power; it cannot revise the state court judgment; it can act only on the body of the


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     petitioner.”) overruled on other grounds by Wainwright v. Sykes, 433 U.S. 72, 87 (1977);

     Harvest v. Castro, 531 F.3d 737, 742 (9th Cir. 2008) (“The consequence when the State fails to

     replace an invalid judgment with a valid one is ‘always release.’”); Gardner, 731 F.2d at 640

     (reversing as “overly broad” a grant of the writ that, in addition to ordering the petitioner’s

     release, ordered the state court to vacate the conviction and dismiss the criminal charges,

     explaining that “[f]ederal habeas relief usually accomplishes its purpose by ordering the

     petitioner’s release from state custody.”); Smith v. Spina, 477 F.2d 1140, 1147 (9th Cir. 1973)

     (“Only the Supreme Court has power, on direct appeal to reverse a state judgment of conviction.
     Federal habeas corpus jurisdiction is based on detention simpliciter. [Citation omitted]. The

     jurisprudential effect of the granting of a federal writ is to release relator from custody. It does

     not have the force and effect of voiding a conviction.”).2

             In addition to requesting that this Court vacate the state-court judgment, petitioner also

     indicates in his motion for release that ODOC is “[a]pparently” prepared to re-compute his

     sentence following the vacation of the judgment, such that none of the time he has served in state

     custody is credited toward service of his sentence on his conviction for aggravated murder.

     (ECF #181, pp. 3-4). Petitioner is incorrect. If the judgment of conviction were to be vacated,

     ODOC would immediately cause petitioner to be released from state confinement to federal

     authorities pursuant to a federal detainer (issued in 1991 following petitioner’s federal conviction

     for Ex-Felon in Possession of a Firearm), but it would not re-compute his sentence to apply the

     time he has served in ODOC custody towards something other than his aggravated murder

     conviction. Nor would it “uncredit” the time and apply the time he has served towards nothing at


     2
       Despite the Supreme Court’s explanation that a habeas court’s review is limited to “the
     lawfulness of the petitioner's custody simpliciter[,]” some courts have assumed that a habeas
     court has the authority to vacate a state-court judgment. But even if it is assumed that a habeas
     court does have the power to vacate a state-court judgment, the judgment would be vacated only
     after the writ issued. See e.g., Douglas v. Jacquez, 626 F.3d 501, 505 (9th Cir. 2010) (allowing
     for vacation of conviction in a conditional writ only after a reasonable amount of time “such as
     90 days” had elapsed to allow the state to correct the constitutional infirmity).
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     all. Rather, upon petitioner’s release, ODOC would close the sentence and compute the amount

     of time that petitioner served upon that sentence, making that information available to federal

     authorities upon request.

               To the extent that petitioner is requesting that this Court order ODOC to compute

     petitioner’s sentence in its internal records in any particular manner following an order vacating

     the judgment, such an order would be beyond the scope of federal habeas. Indeed, in federal

     habeas, a court is without authority to order the modification of the state-court judgment under

     review. See Douglas v. Jacquez, 626 F.3d 501, 504 (9th Cir. 2010) (concluding that “the district
     court did exceed its habeas powers when it directed the state to modify [the petitioner]’s

     sentence.”). If the Court does not have the power to modify a sentence in the state-court

     judgment under review, it does not have the further power to manage or modify how a state

     agency internally classifies the time an inmate has previously served on a particular sentence.

               Respondent understands that petitioner’s requests that this Court vacate the state-court

     judgment and order ODOC to compute petitioner’s sentence in a particular manner are made

     because petitioner believes those steps must be taken for petitioner to receive credit for the time

     he has served on his aggravated-murder convictions towards a consecutively-imposed 105-month

     federal sentence that petitioner received on his conviction for Ex-Felon in Possession of a

     Firearm. However, the Federal Bureau of Prisons (BOP) has communicated to respondent that,

     should petitioner be released pending appeal, its decision whether to credit petitioner with his

     time served in state custody does not hinge on whether the state-court judgment is vacated or

     how ODOC internally classifies the time petitioner has served in state custody. Rather, as

     described in petitioner’s motion for release (at ECF #181, p. 5), BOP has informed respondent

     that it will not credit petitioner with time served in state custody against his federal sentence until

     the appeal of this matter is resolved in petitioner’s favor.3 Thus, should petitioner be released


     3
         The BOP explains its position in an email attached to this filing. (Att. 1).
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     pending appeal of this Court’s judgment, respondent understands that petitioner will be released

     to the custody of the U.S. Marshall and will be required to begin serving his consecutive 105-

     month federal sentence.

              In summary, the Court should stay the judgment previously entered pending the appeal,

     and deny petitioner’s requests to vacate the underlying state-court judgment and to order ODOC

     to compute his time served in any particular manner.

     III.     The Hilton factors support a stay of this Court’s judgment issuing a conditional writ
              of habeas corpus while the appeal is pending.

              A.      Respondent is either likely to succeed on appeal, or has a “substantial case on
                      the merits.”
              Respondent recognizes that it is exceedingly unlikely that a Court, having recently

     concluded that habeas relief is warranted, would find that its judgment so concluding is likely to

     be reversed on appeal, absent a dramatic change in circumstances or the law. However, for the

     reasons stated in his previously filed motion for stay, respondent’s case on the merits is not

     insubstantial, and requests that this Court find that respondent has a “substantial case on the

     merits.” Hilton v. Braunskill, 481 U.S. 770, 778 (1987).

              To be sure, many of the arguments made in respondent’s motion for a stay concerning the

     merits of this case have been rejected by this Court. But respondent has established that, in

     granting relief under Chambers v. Mississippi, 410 U.S. 284 (1973), the Court has extended

     Chambers to circumstances to which it has not been extended before. That is, no court has

     previously concluded that a third-party confession bore “persuasive assurances of

     trustworthiness,” such that due process compelled its admission at trial despite its inadmissibility

     under state evidentiary law, where the third party (here, Crouse) had given numerous accounts

     that were constantly changing in dramatic fashion and, in several respects, were contrary to the

     physical evidence. Respondent has a “substantial case on the merits” that the Court extended

     Chambers too far.


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             Similarly, respondent is unaware of any previous decision in which a Court has found

     actual innocence under Schlup v. Delo, 513 U.S. 298 (1995), based upon affidavits in which

     witnesses recant their trial testimony several years (and in some cases decades) after they

     testified at trial, without any sort of cross examination or other adversarial testing as to

     circumstances that call into question the reliability of those recanting affidavits. Petitioner

     argues that the Ninth Circuit will be limited to reviewing this Court’s factual findings on actual

     innocence—to the extent such findings were made—for clear error. (ECF # 181, pp. 7-8). The

     Supreme Court has concluded otherwise. See House v. Bell, 547 U.S. 518, 539-40 (2006)
     (rejecting the argument that the district court’s findings “tie our hands” absent a showing of

     “clear error[,]” explaining that “the inquiry does not turn on discrete findings regarding disputed

     points of fact,” but instead requires a “holistic judgment about all the evidence and its likely

     effect on reasonable jurors . . .” (internal quotation marks and citations omitted)). As with the

     claim under Chambers, respondent has a “substantial case on the merits” that it is unlikely that

     all reasonable jurors would reject the witnesses’ trial testimony, given under oath and subject to

     cross examination, and instead credit affidavits signed several years after the trial.

             B.      The remaining factors support a stay of the Court’s judgment issuing a
                     conditional writ of habeas corpus while the appeal is pending.
             As explained in the motion for stay, respondent will suffer irreparable injury if forced to

     elect to retry petitioner during the pendency of the appeal, as it will be required to expend

     substantial time and resources on a retrial that, depending on the outcome of the appeal, may

     become unnecessary. The initial trial spanned four months during the summer of 1991, and any

     retrial would potentially involve further complications for both the State and petitioner, given

     that it would occur over 30 years after Michael Francke’s death. Indeed, petitioner agrees that

     the “State might be irreparably harmed absent a stay of the retrial order,” but explains that the

     “question is not at issue because Mr. Gable agrees to a stay of the retrial order.” (ECF #181,

     p. 15). For similar reasons, the public interest also favors a stay of this Court’s judgment

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     pending the appeal, given that any retrial may become unnecessary, in the event the Ninth

     Circuit reverses the Court’s judgment or remands for further proceedings before this Court. See

     e.g., Decker v. Persson, 2015 WL 7069662 *2 (D. Or. Nov. 13, 2015) (explaining that “it makes

     little sense to require the State to begin a new trial if there is a possibility that the outcome could

     be mooted by a reversal of the Court’s Judgment on appeal.”); Franklin v. Duncan, 891 F. Supp.

     516, 520 (1995) (“It makes little sense for the State to be required to immediately conduct a

     murder trial if there is any possibility the trial could be mooted by a reversal of this Court’s order

     on appeal.”); Dassey v. Dittmann, 2016 WL 6684214 *1 (E.D. Wis. Nov. 14, 2016) (“The
     purpose of such a stay was to avoid the obvious inefficiency of forcing the state to retry

     [petitioner] while concurrently appealing this court’s decision.”).

     IV.     Respondent will not oppose petitioner’s motion for release under Fed. R. App. P.
             23(c), provided that the Court stays its judgment imposing a conditional writ of
             habeas corpus and imposes certain conditions on petitioner’s release.
             As discussed above, based on communication with BOP, it is respondent’s understanding

     that, should petitioner be released pending appeal, he will be required to begin service of his

     consecutively-imposed federal sentence. However, in recognition that Fed. R. App. P. 23(c)

     creates a presumption for a successful habeas petitioner’s release pending appeal, should BOP’s

     position change (whether through reinterpretation of its rules or some other circumstance),

     respondent will not oppose petitioner’s release pending appeal, provided that the Court stays the

     judgment pending appeal and imposes certain conditions upon petitioner’s release.

             As explained in the motion to stay, prior to petitioner’s conviction for aggravated murder

     in 1991, he posed a significant threat to the community, having been twice convicted of Robbery

     in the Second Degree. (Tr. 10132). Describing the second robbery, in 1984, the store clerk

     testified that during the robbery petitioner “just kept jerking me around and it was hard for me to

     breathe because he had his hand clasped over my mouth and part of my nose.” (Tr. 10120).

     Petitioner’s then-wife testified that petitioner would repeatedly assault her, once breaking her


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     arm and another time slicing her leg, requiring several stiches. (Tr. 10242-43, 10252-56). The

     testimony at the penalty phase of petitioner’s trial indicated that petitioner possessed weapons on

     multiple occasions, including firearms and knives. (Tr. 10151-53, 10161, 10205, 10245-47,

     10249, 10258, 10266). And, as noted above, petitioner was eventually convicted of a federal

     crime, Ex-Felon in Possession of a Firearm, and was sentenced to 105 months of incarceration.

     United States v. Gable, Case No. 3:90-CR-00170-PA-1. Thus, if petitioner is to be released, this

     Court should impose conditions of release, to be supervised by a federal probation officer,

     pursuant to its authority under 18 U.S.C.A. § 3603(10). See e.g., Franklin, 891 F. Supp. at 522
     (imposing conditions on release pending appeal); Dassey, 2016 WL 6684214 *6-7 (same).

             As petitioner notes, if released, petitioner will be subject to several conditions by virtue

     of his prior federal conviction for a period of three years. However, respondent requests that this

     Court impose each of those conditions as well, such that this Court will have independent

     authority to ensure compliance with those conditions and the conditions will remain in effect

     should petitioner’s release pending appeal extend beyond three years. In addition to those

     conditions of release, respondent also requests that this Court impose the following conditions:

             1.   Petitioner shall submit to electronic monitoring if deemed necessary by the
                  probation officer.
             2.   Petitioner shall appear if required by the Court at all proceedings related to
                  this matter.
             3.   Petitioner shall not have any type of contact with any witness who testified
                  at his state-court trial on the murder charges that are the subject of this
                  proceeding. This provision does not preclude petitioner’s attorneys and
                  other members of his legal team from having such contact. Should any
                  such witness reach out to Petitioner, he may only respond by directing
                  them to contact his attorney, and such contact would not be treated as a
                  violation of this condition.
             4.   Petitioner shall not be permitted to apply for or obtain a passport or to
                  travel internationally.
             5.   Prior to release from state custody, petitioner shall execute a waiver of
                  extradition to Oregon from the State to which he is released.
             6.   Petitioner shall not be permitted to travel outside of the State to which he
                  is released without notice to respondent and prior permission of this Court
                  and his federal probation officer. Prior to any travel outside of the State to
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                   which he is released, petitioner shall execute a waiver of extradition to
                   Oregon from any state to which he is permitted to travel.
           7.      In the event that this Court’s judgment granting a conditional writ of
                   habeas corpus is reversed on appeal or reversed for further proceedings
                   before this Court, petitioner shall agree to surrender himself to the U.S.
                   Marshal or to Oregon law-enforcement officials for transport back into the
                   custody of the Oregon Department of Corrections.
           8.      In the event that this Court’s judgment granting a conditional writ of
                   habeas corpus is affirmed on appeal and the State of Oregon elects to retry
                   petitioner, petitioner shall agree to surrender himself to the U.S. Marshal
                   or to Oregon law-enforcement officials for transport back to Oregon for
                   retrial.
           As indicated in petitioner’s recent status report, petitioner does not oppose this Court

    imposing the supervised-release conditions imposed on his federal conviction, and does not

    oppose some of the additional conditions requested by respondent. (ECF #184). The parties

    continue to be in negotiations regarding the remainder of the additional conditions requested by

    respondent.

    V.     Conclusion

           For the reasons discussed above, respondent opposes petitioner’s request that this Court

    vacate the underlying state-court judgment, as well as any request that this Court order ODOC to

    compute time previously served in a particular manner. However, respondent does not oppose

    petitioner’s release pending appeal under Fed. R. App. P. 23(c), provided that this Court stays the

    judgment pending appeal, as well as orders the conditions of release, as outlined above.
           DATED June 14 , 2019.

                                                        Respectfully submitted,

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